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   8
   9
                                    UNITED STATES DISTRICT COURT
  10
                                              SOUTHERN DISTRICT
  11
          HELIX ENVIRONMENTAL                                Case No.: 3:18-cv-02000-AJB-NLS
  12      PLANNING, INC., a California
          corporation,
  13                                 PLAINTIFF’S MEMORANDUM OF
  14                                 POINTS AND AUTHORITIES IN
                          Plaintiff, SUPPORT OF ITS MOTION FOR
  15                                 ENTRY OF DEFAULT
              vs.                    JUDGMENT AGAINST
  16
                                     DEFENDANT HELIX
  17      HELIX ENVIRONMENTAL AND ENVIRONMENTAL AND
          STRATEGIC SOLUTIONS, a
  18      California corporation     STRATEGIC SOLUTIONS
  19                             Defendant.                  Judge: Hon. A.J. Battaglia
  20                                                         Courtroom: 4A
  21                                                         Date: May 30, 2019
                                                             Time: 2:00pm
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   1                                         I.       INTRODUCTION
   2           Plaintiff Helix Environmental Planning, Inc. (“Helix” or “Plaintiff”)
   3   respectfully submits this Memorandum of Points and Authorities in support of its
   4   Motion for Entry of Default Judgment against Defendant Helix Environmental
   5   and Strategic Solutions (“Defendant”). Plaintiff Helix filed this action because
   6   Defendant since 2016 has sold services identical or similar to Helix’s services
   7   using Helix’s service mark, which Helix has used in commerce since 1991 and has
   8   had a valid federal registration for since June 19, 2018. Helix filed this suit to
   9   obtain a permanent injunction enjoining Defendant from capitalizing on Helix’s
  10   goodwill in its service mark. This should ultimately eliminate consumer
  11   confusion in the marketplace so that consumers are not at risk of being
  12   misinformed about the source or quality of services offered by either company.
  13           The Complaint in this case was filed initially on August 27, 2018.
  14   Defendant was served with the Summons and Complaint via an FRCP Rule 4
  15   waiver that was executed by Defendant’s counsel on October 24, 2018 and filed
  16   on October 25, 2018. Counsel for Plaintiff and Defendant have communicated
  17   several times since this action was filed. During those discussions, Defendant
  18   acknowledged receiving the Summons and Complaint, but Defendant still hoped
  19   to resolve the matter out of court. Defendant’s time period to file an Answer or
  20   otherwise respond has expired. The parties have not reached an agreement, and
  21   Plaintiff has not withdrawn its allegations of trademark infringement. As a
  22   courtesy to Defendant, and in an attempt to minimize the expense of litigation,
  23   Plaintiff has heretofore avoided seeking default judgment in this case.
  24           On January 8, 2019, Plaintiff Helix’s counsel notified Defendant that it
  25   should either cease using the phrase “Helix Environmental,” which is a key
  26   component of Plaintiff’s HELIX ENVIRONMENTAL PLANNING service mark,
  27   by January 16, 2019 or file an Answer or other responsive pleading by January 17,
  28   2019; otherwise, Plaintiff would file its Request for Entry of Clerk’s Default on

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   1   January 18, 2019. Defendant did not acknowledge an intent to cease use, nor did
   2   it file an Answer or otherwise respond to the Complaint.
   3           On Plaintiff Helix’s motion, the Court Clerk entered default against
   4   Defendant on January 22, 2019. Pursuant to Rule 55(b)(2) of the Federal Rules of
   5   Civil Procedure, Helix now seeks a default judgment and a permanent injunction
   6   to prevent Defendant from continuing to capitalize on Helix’s goodwill in its
   7   service mark.
   8
   9                                 II.      FACTUAL BACKGROUND
  10           Plaintiff Helix Environmental Planning, Inc. is a well-recognized Southern
  11   California-based company that provides high-quality environmental consulting
  12   services to private and public clients throughout California and the western United
  13   States. [Complaint, ¶¶ 1, 7.] Helix began using the service mark HELIX
  14   ENVIRONMENTAL PLANNING in 1991, registered the Internet domain name
  15   www.helixepi.com in 1999, and obtained a federal registration for HELIX
  16   ENVIRONMENTAL PLANNING on June 19, 2018. [Complaint, ¶¶ 8–9, 22.]
  17   Plaintiff has used the term “Helix Environmental” as an abbreviation for its
  18   service mark since as early as 2002. [Complaint, ¶ 14.] Due to Plaintiff’s
  19   longstanding and extensive use and advertising of HELIX ENVIRONMENTAL
  20   PLANNING and HELIX ENVIRONMENTAL, these terms have come to be and
  21   is now recognized and relied upon by the trade and public as identifying and
  22   distinguishing the services and business reputation of Plaintiff. [Complaint, ¶ 17.]
  23           Defendant Helix Environmental and Strategic Solutions is a Southern
  24   California-based environmental consulting company that first incorporated under
  25   the laws of the State of California on February 8, 2016. [Complaint, ¶¶ 23–24.]
  26   Since February 8, 2016, Defendant has used the name “Helix Environmental” in
  27   connection with its environmental services. [Complaint, ¶ 24.] Defendant also
  28


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   1   uses the Internet domain name helixenvironmental.com to advertise, offer, and
   2   render its environmental consulting services. [Complaint, ¶ 25.]
   3           Plaintiff and Defendant both offer environmental consulting and
   4   compliance services in Southern California, but Plaintiff was the first entrant into
   5   the market and began using “Helix Environmental” in 1991, at least 25 years
   6   before Defendant, which began its use on or around February 8, 2016. [Complaint,
   7   ¶ 27.] Plaintiff never consented to or authorized Defendant’s use of the term
   8   “Helix Environmental” or the domain name helixenvironmental.com in
   9   connection with advertising, offering, and/or rendering environmental services.
  10   [Complaint, ¶ 28.] Defendant’s unauthorized use of the term
  11   “Helix Environmental” and the domain name helixenvironmental.com is likely to
  12   confuse consumers as to whether Defendant’s services and business reputation
  13   originate from or are somehow endorsed or sponsored by Plaintiff. [Complaint, ¶¶
  14   29, 37.] This is especially true considering that both companies direct their
  15   services to similar groups of consumers using the same or similar trade channels.
  16   [Complaint, ¶¶ 30, 35.]
  17           Plaintiff Helix filed the Complaint on August 27, 2018. [Docket No. 1.]
  18   Defendant was served with the Summons and Complaint via an FRCP Rule 4
  19   waiver that was executed by Defendant’ counsel on October 24, 2018 and filed on
  20   October 25, 2018. [Docket No. 4.] Under Fed. R. Civ. P. 4(d)(3), a defendant who
  21   waives service of summons must file an Answer within sixty (60) days of when
  22   the request for waiver was sent. More than sixty days elapsed, and Defendant
  23   failed to file an Answer or otherwise respond to the proceedings. [Decl. Eastman,
  24   Docket No. 5-2, para. 9.]
  25           Even after that sixty-day period ended, Plaintiff encouraged Defendant to
  26   either cease its infringing activity or respond to the proceedings in order to avoid
  27   default judgment. On January 8, 2019, Plaintiff’s counsel sent a letter to
  28   Defendant’s counsel asking Defendant to either cease using the term “Helix

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   1   Environmental” by January 16, 2019 or to file an Answer or other responsive
   2   pleading by January 17, 2019; otherwise Plaintiff would file a Request for Entry
   3   of Clerk’s Default on January 18, 2019. [Decl. Eastman, Docket No. 5-2, para.
   4   10.] To date, Defendant has failed to appear or otherwise defend. [Decl. Eastman,
   5   Docket No. 5-2, para. 11.] Plaintiff filed the Request for Entry of Clerk’s Default
   6   as promised on January 18, 2019 [Docket No. 5].
   7           The Clerk of this Court entered a Default against the Defendant on January
   8   22, 2018 [Docket No. 6] – nearly five months after the initial Complaint was filed
   9   and nearly three years since Defendant first began using the term “Helix
  10   Environmental” in connection with its services. [See Docket No. 1; Complaint, ¶
  11   24.]
  12           Defendant took no action for several months after being served with the
  13   Complaint, despite its awareness of Plaintiff’s concerns about trademark
  14   infringement. Defendant did not take advantage of opportunities to respond even
  15   after the formal court deadline expired. While counsel for Plaintiff had exchanged
  16   several emails with counsel for Defendant since the inception of this case, this
  17   correspondence does not in any way discharge Defendant’s duty to defend the
  18   case. Defendant has simply failed to defend this case.
  19
  20                                            III.     DISCUSSION
  21           A default judgment should be entered against Defendant because Plaintiff
  22   Helix Environmental Planning, Inc. has satisfied the conditions of Federal Rules
  23   of Civil Procedure 55, and the factual allegations in its Complaint, now deemed
  24   true, establish Helix’s claims.
  25           Helix has satisfied the conditions of Rule 55(b) of the Federal Rules of
  26   Civil Procedure, establishing that Defendant failed to plead and meets no
  27   exception to default.
  28


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   1
   2   A.      Helix Gave Notice of its Intent to File for Default Judgment
   3
               Helix, although not obligated to provide Defendant with any notice of its
   4
       intent to file a Request for Entry of Clerk’s Default, gave Defendant notice more
   5
       than one week before filing. See Hawaii Carpenters' Trust Funds v. Stone, 794
   6
       F.2d 508, 512 (9th Cir. 1986) (holding that Fed. R. Civ. P. 55(a) has no notice
   7
       requirement). Even after the formal window for responding to the Complaint had
   8
       closed, Helix gave Defendant more opportunities to either cease its infringing
   9
       conduct or respond to the proceedings. Despite the failure to resolve the case,
  10
       Defendant failed to file an Answer or otherwise respond, and Helix finally filed
  11
       for default judgment.
  12
  13   B.      Ninth Circuit Eitel Factors Strongly Favor Default Judgment
  14           The Ninth Circuit has enumerated the following factors for a district court
  15   to consider when determining whether to grant default judgment:
  16
  17           (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s
  18
               substantive claim, (3) the sufficiency of the complaint, (4) the sum of
               money at stake in the action, (5) the possibility of a dispute concerning
  19           material facts, (6) whether the default was due to excusable neglect, and (7)
  20           the strong policy underlying the Federal Rules of Civil Procedure favoring
               decisions on the merits.
  21
  22   Eitel v. McCool, 782 F.2d 1470, 1471-42 (9th Cir. 1986). See also PepsiCo v.
  23   Triunfo-Mex, Inc., 189 F.R.D. 431, 432 (C.D. Cal. 1999) (“In applying this
  24   discretionary standard, default judgments are more often granted than denied.”).
  25           In this case, the enumerated factors weigh heavily in favor of granting
  26   default judgment.
  27           As for the first factor, denying default judgment would prejudice Plaintiff
  28   Helix, whose reputation and profits are continuously harmed by Defendant’s use

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   1   of Helix’s trade name in the same geographic region for the same or similar
   2   services. Injunctive relief, a common type of relief in trademark infringement
   3   cases, specifically contemplates the probability of prejudice, or irreparable harm,
   4   to the plaintiff in the absence of equitable relief. Herb Reed Enters., LLC v. Fla.
   5   Entm’t Mngmt. Co., 736 F.3d 1239, 1250–51 (9th Cir. 2013). On this point,
   6   courts have held that a plaintiff in a trademark infringement case is prejudiced
   7   when “continuing infringement will result in loss of control over the plaintiff’s
   8   reputation and good will.” Apple Computer, Inc. v. Formula Int’l, Inc., 725 F.2d
   9   521, 526 (9th Cir. 1984). See also CytoSport, Inc. v. Vital Pharmaceuticals, Inc.,
  10   617 F. Supp. 2d 1051, 1081 (E.D. Cal. 2009); Maxim Integrated Prods., Inc. v.
  11   Quintana, 654 F. Supp. 2d 1024, 1035–36 (N.D. Cal. 2009) (“In trademark cases,
  12   irreparable harm is typically found in a plaintiff’s loss of control over their
  13   business reputation, loss of trade, and loss of goodwill.”). Defendant’s conduct
  14   thus far suggests that in the absence of default judgment, Defendant is likely to
  15   continue to neglect and delay the present proceedings, prolonging Defendant’s
  16   infringement of Helix’s mark, and causing significant ongoing harm to both Helix
  17   and the public.
  18           Eitel factors two and three, which are generally analyzed together, simply
  19   “require that a plaintiff state a claim on which [it] may recover.” Landstar
  20   Ranger, Inc. v. Parth Enters., 725 F. Supp. 2d 916, 920 (C.D. Cal. 2010) (citing
  21   PepsiCo v. Cal. Sec. Cans., 238 F. Supp. 2d 1172, 1175 (C.D. Cal. 2002)). Helix’s
  22   Complaint properly alleged the necessary elements for each cause of action,
  23   leaving the Court the capacity to grant relief as to all of them.
  24           As for the fourth Eitel factor, Helix requests solely injunctive relief,
  25   meaning that no amount of money is at stake in this action. Rather than
  26   requesting damages or lost profits from Defendant, or even attorneys’ fees and
  27   litigation costs, Helix simply wants Defendant’s infringing activity to stop, in
  28


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   1   order to put an end to Helix’s reputational and financial harm and to mitigate
   2   consumer confusion.
   3           As for the fifth Eitel factor, the facts now deemed true indicate that Plaintiff
   4   owns a valid trademark and that Defendant caused a likelihood of confusion with
   5   that trademark. The names of the two companies (Helix Environmental Planning,
   6   and Helix Environmental and Strategic Solutions) speak for themselves, and none
   7   of the allegations, in the absence of an answer to the Complaint, have been or can
   8   be genuinely disputed. See Philip Morris USA Inv. V. Castworld Products, Inc.,
   9   219 F.R.D. 494, 500 (C.D. Cal. 2003).
  10           With respect to the sixth Eitel factor, the inability of Defendant’s counsel to
  11   file a response cannot reasonably be considered excusable neglect. Helix sent a
  12   letter to the Defendant notifying it of Helix’s intent to file for default judgment in
  13   the absence of a response from Defendant. Defendant acknowledged receipt of
  14   the letter but still insists on settling the issues out-of-court as a bad faith delay
  15   tactic to avoid filing an answer and to prolong its ongoing infringement of Helix’s
  16   mark. Those settlement discussions, however, do not preclude entry of default.
  17   Hawaii Carpenters, 794 F.2d at 512.
  18           The first six factors resolve heavily in favor of Helix, and the seventh Eitel
  19   factor favoring decisions on the merits cannot be interpreted to render Rule 55(b)
  20   void. Ultimately, the Federal Rules of Civil Procedure are designed to “secure the
  21   just, speedy, and inexpensive determination of every action.” Orange Theatre
  22   Corp. v. Rayherstz Amusement Corp., 130 F.2d 185, 187 (3d Cir. 1942). In this
  23   action, where all seven Eitel factors weigh in favor of default judgment, entry of
  24   default judgment would be a just result protecting Helix’s intellectual property
  25   without further delay or harm to Helix.
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   1   C.      This Court Should Declare That Defendant Has Infringed Helix’s
   2           Trademark in Violation of 15 U.S.C. § 1114(1)
   3           To succeed on a federal trademark infringement claim under 15 U.S.C. §
   4   1114(1), the plaintiff must have a valid, registered trademark and must show that
   5   the defendant’s conduct has caused a likelihood of consumer confusion. Lee
   6   Myles Assocs. Corp. v. Paul Rubke Enters.. Inc., 557 F. Supp. 2d 1134, 1141 (S.D.
   7   Cal. 2008). Because both of these requirements are met, Defendant should be
   8   liable for federal trademark infringement.
   9           First, Helix sufficiently established that it owns a valid, enforceable
  10   trademark that is registered. Helix has been using HELIX ENVIRONMENTAL
  11   PLANNING as its service mark since 1991. [Complaint, ¶ 8.] Not only has the
  12   term gained common-law trademark rights over the past 28 years through
  13   secondary meaning from longstanding use in commerce, but Helix also acquired a
  14   federal Principal Register registration for the mark on June 19, 2018. [Complaint,
  15   ¶¶ 17, 22.] Registration on the Principal Register is prima facie evidence of the
  16   mark’s validity and of the owner’s exclusive right to use the mark in commerce.
  17   15 U.S.C. § 1057(b).
  18           Second, Helix sufficiently pled likelihood of confusion. Courts within the
  19   Ninth Circuit rely on the Sleekcraft factors to assess whether a defendant’s use of
  20   another’s trademark has created consumer confusion. See AMF Inc. v. Sleekcraft
  21   Boats, 599 F. 2d 341, 348–55 (9th Cir. 1979); see also GoTo.com, Inc. v. Walt
  22   Disney Co., 202 F. 3d 1199, 1205 (9th Cir. 2000); Daimler AG v. A-Z Wheels
  23   LLC, 334 F. Supp. 3d 1087, 1095 (S.D. Cal. 2018).
  24           One Sleekcraft factor is the strength of the plaintiff’s trademark. Sleekcraft,
  25   599 F.2d at 349–50. Showing the mark’s strength, the Complaint alleges that over
  26   the past 28 years, Plaintiff’s HELIX ENVIRONMENTAL PLANNING service
  27   mark has “come to be and is now recognized and relied upon by the trade and
  28   public as identifying and distinguishing the services and business reputation of

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   1   Plaintiff.” [Complaint, ¶ 19.] Another factor is the similarity of the plaintiff’s and
   2   defendant’s goods. Sleekcraft, 599 F.2d at 350. The Complaint alleges that both
   3   Helix and Defendant offer environmental consulting and compliance services in
   4   Southern California. [Complaint, ¶¶ 1–2, 27.] A third factor is the similarity of
   5   the plaintiff’s and defendant’s marks. Sleekcraft, 599 F.2d at 350–52. Helix has
   6   used the service mark HELIX ENVIRONMENTAL PLANNING since 1991 and
   7   has used the abbreviation “Helix Environmental” since 2002. [Complaint, ¶¶ 8,
   8   10.] Defendant’s company name is “Helix Environmental and Strategic
   9   Solutions,” which borrows the focal term “Helix Environmental” from Helix’s
  10   mark. [Complaint, ¶¶ 23–24.] The Complaint further alleges that both Plaintiff
  11   and Defendant utilize the same or similar trade channels, a fourth factor
  12   suggesting likelihood of confusion. Sleekcraft, 599 F.2d at 353. [Complaint, ¶
  13   30.]
  14           Therefore, this Court should declare that Defendant’s infringing activities
  15   constitute federal trademark infringement under 15 U.S.C. § 1114(1).
  16
  17   D.      This Court Should Declare that Defendant’s Use of the Phrase “Helix
  18   Environmental” and the Domain Name helixenvironmental.com Constitutes
  19   Federal Unfair Competition in Violation of 15 U.S.C. § 1125(a)
  20           Defendant’s activities additionally violate 15 U.S.C. § 1125(a). Section
  21   1125(a) prohibits the same type of conduct as § 1114, except § 1125(a) protects
  22   not only registered marks but also non-registered marks that are protectable at
  23   common law. GoTo.com, 202 F.3d at 1204 n.3.
  24           Helix has pleaded that even before its trademark was registered in 2018, the
  25   mark HELIX ENVIRONMENTAL PLANNING and its abbreviated version
  26   “Helix Environmental” had acquired secondary meaning sufficient to acquire
  27   status as a common-law trademark. [Complaint, ¶¶ 17, 20.] Defendant’s unfair
  28   competition began on or around February 8, 2016, when Defendant first began

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   1   using “Helix Environmental and Strategic Solutions” as its trade name.
   2   [Complaint, ¶ 27.] For the same reasons supporting Plaintiff’s § 1114 argument,
   3   Defendant caused consumer confusion by offering, selling, and rendering its
   4   environmental consulting services as Helix Environmental and Strategic Solutions
   5   after Helix had already for decades been offering similar services under the name
   6   Helix Environmental Planning, Inc. [Complaint, ¶ 29.] Defendant’s use of the
   7   domain name helixenvironmental.com further begets consumer confusion, for
   8   Plaintiff uses the terms HELIX ENVIRONMENTAL PLANNING and “Helix
   9   Environmental,” so consumers are likely to mistakenly assume that Defendant’s
  10   website titled “Helix Environmental” was associated with Plaintiff. [Complaint, ¶
  11   61.]
  12           Therefore, this Court should declare that Defendant’s use of the phrase
  13   “Helix Environmental” and the domain name helixenvironmental.com constitutes
  14   federal unfair competition under 15 U.S.C. § 1125(a).
  15
  16   E.      This Court Should Declare that Defendant’s Use of the Phrase “Helix
  17           Environmental” and the Domain Name helixenvironmental.com
  18           Constitutes California Common Law Trademark Infringement
  19           Because both parties are businesses located in California, trademark
  20   infringement under California common law applies. To succeed on this claim, the
  21   plaintiff must prove (1) prior use of the mark, and (2) the defendant’s use of a
  22   mark that is likely to cause confusion. Craigslist, Inc. v. Naturemarket, Inc., 649
  23   F.2d 1039, 1058 (N.D. Cal. 2010).
  24           Based on the same facts Helix pleaded to show federal trademark
  25   infringement and unfair competition, Helix has shown that it was the first user of
  26   the term “Helix Environmental” and that Defendant’s more recent use of the same
  27   term within the same industry is likely to cause consumer confusion. Therefore,
  28   this Court should declare that Defendant’s use of the phrase “Helix

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   1   Environmental” and the domain name helixenvironmental.com constitutes
   2   California common law trademark infringement.
   3
   4   F.      This Court Should Declare That Defendant Has Committed
   5           Cybersquatting in Violation of the Anticybersquatting Consumer
   6           Protection Act
   7           The Anticybersquatting Consumer Protection Act prohibits anyone from
   8   registering, trafficking in, or using a domain name that is identical or confusingly
   9   similar to a pre-existing distinctive trademark, with the bad-faith intent to profit
  10   from the mark. 15 U.S.C. § 1125(d). Because both of these requirements are met,
  11   Defendant should be liable for cybersquatting.
  12           First, Helix has sufficiently alleged that Defendant’s domain name,
  13   comprised of “Helix Environmental,” is identical or at least confusingly similar to
  14   Helix’s distinctive service mark HELIX ENVIRONMENTAL PLANNING.
  15   [Complaint, ¶ 58.] According to the Complaint, Defendant began using the
  16   domain name helixenvironmental.com after incorporating its business under the
  17   laws of California on February 8, 2016. [Complaint, ¶ 25.] By the time
  18   Defendant registered the domain name with “Helix Environmental,” Helix had
  19   already been using HELIX ENVIRONMENTAL PLANNING for more than
  20   twenty years and the abbreviated version “Helix Environmental” for more than ten
  21   years. [Complaint, ¶¶ 8, 10.] This was more than enough time to make the terms
  22   distinctive and recognizable in connection with Helix’s services. [See Complaint,
  23   ¶ 60.] As a result, it is likely that a visitor to helixenvironmental.com would
  24   mistakenly infer from the domain name that Defendant’s services were affiliated,
  25   endorsed, or sponsored by Helix.
  26           Second, the facts in the Complaint and the circumstances surrounding this
  27   request for default judgment suggest that Defendant had the bad-faith intent to
  28   profit from Helix’s mark by using it in its domain name. Helix alleges that

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   1   Defendant had actual or constructive notice of Helix’s ownership and use of the
   2   service mark HELIX ENVIRONMENTAL PLANNING long before Defendant
   3   created its domain name. [Complaint, ¶ 33.] Helix further alleges that Defendant
   4   knowingly registered the helixenvironmental.com domain name to advertise,
   5   offer, or render services that directly compete with Plaintiff’s services in order to
   6   “divert” consumers searching for the Plaintiff. [Complaint, ¶¶ 59, 61.] See 15
   7   U.S.C. § 1125(d)(1)(B)(5) (bad faith can be shown by a defendant’s intent to
   8   “divert” consumers from the plaintiff in a way that could “harm the goodwill
   9   represented by the [plaintiff’s] mark”). Helix thus characterizes Defendant’s use
  10   of the term “Helix Environmental” as “an attempt to create a false impression of
  11   association with Plaintiff.” [Complaint, ¶ 34.] Such egregious conduct suggests
  12   bad faith. See City of Carlsbad v. Shah, 850 F. Supp. 2d 1087, 1106 (S.D. Cal.
  13   2012) (“[C]ourts consider the egregiousness of the defendant’s cybersquatting”
  14   when evaluating the bad faith element).
  15           Refusal to discontinue the infringing conduct after being put on notice of
  16   the conduct’s unlawfulness is evidence of bad faith. Shah, 850 F. Supp. 2d at
  17   1106. Even after Helix specifically informed Defendant about its infringing
  18   conduct and asked it to stop, Defendant refused to stop using Helix’s mark in its
  19   domain name and in its marketing. [Complaint, ¶ 44.] Moreover, Defendant’s
  20   refusal up to this point to respond to the Complaint, prompting this motion for
  21   default judgment, shows that Defendant wishes to continue its conduct without
  22   any interference. [See Decl. Eastman, Docket No. 5-2, para. 11.] This avoidance
  23   of the judicial process could be “other behavior evidencing an attempt of
  24   contempt” as to show bad faith. See Shah, 850 F. Supp. 2d at 1106. Based on
  25   these facts, Helix alleges that Defendant continues to use its domain name
  26   helixenvironmental.com “in bad faith and with the intent to profit from the
  27   goodwill reputation and rendering power established by Plaintiff under the HELIX
  28   ENVIRONMENTAL PLANNING service mark.” [Complaint, ¶ 62.]

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   1             Because Defendant used Helix’s distinctive mark “Helix Environmental” in
   2   its domain name in bad faith and in a way likely to confuse consumers about the
   3   affiliation of the website’s services, this Court should declare that Defendant has
   4   committed cybersquatting in violation of the Anticybersquatting Consumer
   5   Protection Act.
   6
   7   G.        This Court Should Declare That Defendant’s Conduct Is Unfair
   8             Competition
   9             Defendant’s conduct constitutes unfair competition and unfair trade
  10   practices in violation of California Business and Professions Code section 17200
  11   et seq.
  12             Helix’s reputation and profits are continuously harmed by Defendant’s use
  13   of Helix’s distinctive trade name in the same geographic region for the same or
  14   similar services. The California Supreme Court has held that the “scope [of Cal.
  15   Bus. & Prof. Code § 17200 et seq.] is broad” and proscribes “three varieties of
  16   unfair competition—acts or practices which are unlawful, or unfair, or
  17   fraudulent.” Cel-Tech Commc'ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163,
  18   180 (Cal. 1999). Helix has pleaded facts sufficient to show Defendant has
  19   engaged in not only a single variety, but each of the three varieties of unfair
  20   competition contemplated by the statute. [Complaint, ¶¶ 23–31.] This Court
  21   should therefore declare that Defendant’s conduct is unfair competition under
  22   California Business and Professions Code Section 17200 et seq.
  23
  24   H.        This Court Should Permanently Enjoin Defendant From Using the
  25   Term “Helix Environmental” in Connection with Environmental Services
  26             Because Defendant has been infringing Helix’s trademark under federal and
  27   California law, this Court should enter a permanent injunction forever enjoining
  28   and restraining Defendant and its agents, officers, attorneys, employees,

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   1   successors, assigns, affiliates, and any persons in privity or active concert or
   2   participation with any of them from using the terms “Helix”, “Helix
   3   Environmental”, and “helixenvironmental.com”, with or without its
   4   accompanying logo, or any words, phrases, symbols, logos, or combination of
   5   words and symbols that would create a likelihood of confusion, mistake, and/or
   6   deception with the HELIX ENVIRONMENTAL PLANNING service mark and
   7   trade name in connection with environmental services.
   8           Along with that injunction, the Court should require, under 15 U.S.C. §
   9   1118, that Defendant and all others acting under Defendant’s authority, at their
  10   cost, deliver up and destroy all devices, literature, advertising, labels, and other
  11   materials in their possession bearing the designation “Helix Environmental” or
  12   helixenvironmental.com.
  13           The Court should also direct Defendant, under 15 U.S.C. § 1116(a), to file
  14   with the Court and serve on Plaintiff, within thirty (30) days after issuance of an
  15   injunction, a report in writing and under oath setting forth in detail the manner and
  16   form in which Defendant has complied with the injunction.
  17
  18   I.      This Court Should Order the Transfer of the helixenvironmental.com
  19   Domain Name to Helix
  20           Because Defendant has committed cybersquatting through its use of the
  21   domain name helixenvironmental.com, this Court should issue a declaration,
  22   adjudication, and decree that Plaintiff Helix is the sole legal and equitable owner
  23   of the Internet domain name helixenvironmental.com and order that the Defendant
  24   relinquish all rights to the Internet domain name and direct Domains by Proxy,
  25   LLC; GoDaddy, LLC; or any other party in a position to do so to transfer the
  26   Internet domain name to Helix.
  27
  28


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   1                                           IV.      CONCLUSION
   2           For the foregoing reasons, Plaintiff Helix Environmental Planning, Inc.
   3   respectfully requests the Court grant this motion for entry of default judgment
   4   against Defendant Helix Environmental and Strategic Solutions for trademark
   5   infringement under federal and California law, unfair competition under federal
   6   and California law, and the federal Anticybersquatting Consumer Protection Act.
   7   Plaintiff also requests the Court enter a permanent injunction against Defendant
   8   restraining it from using the term “Helix Environmental” in connection with
   9   environmental services; and order that Defendant relinquish all rights in the
  10   Internet domain name helixenvironmental.com and direct Domains By Proxy,
  11   LLC; GoDaddy.com, LLC; or any other party in position to do so, to transfer the
  12   Internet domain name to Plaintiff.
  13
  14                                                       Respectfully submitted,
  15
  16   Dated: February 4, 2019
  17                                                       Eastman & McCartney LLP

  18                                                       By: /s/ Gary L. Eastman
  19                                                           Gary L. Eastman, Esq.
                                                               Attorney for Plaintiff
  20
  21
  22
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                                            CERTIFICATE OF SERVICE
   1
   2           I, the undersigned certify and declare as follows:

   3          I am over the age of eighteen years and not a party to this action. My business address is
       401 West A Street, Suite 1785, San Diego, California, 92101, which is located in the county
   4
       where the service described below took place.
   5
               On February 4, 2019, at my place of business in San Diego, California, I served a copy
   6   of the following document:
   7
       POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR ENTRY OF
   8   DEFAULT JUDGMENT
   9   The undersigned hereby certifies that he caused a copy of the foregoing documents to be filed
  10   with the clerk of the U.S. District Court, Southern District of California, using the CM/ECF
       filing system, and a copy will be electronically mailed to the following recipients via ECF
  11   electronic service:
  12
       Chris Arledge, Esq.
  13   One LLP
  14
       4000 MacArthur Blvd, East Tower Ste. 500
       Newport Beach, CA 92660
  15
  16   Attorney for Helix Environmental and Strategic Solutions
  17
  18         I certify and declare under penalty of perjury under the laws of the United States of
       American and the State of California that the foregoing is true and correct.
  19
       Executed on February 4, 2019, in San Diego, California.
  20
                                               By:         /s/ Gary Eastman
  21
                                                           Gary Eastman
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